Case 18-01449-JKS Doc1 Filed 08/22/18 Entered 08/22/18 11:23:25

Document

Page 1 of 2

RABINOWITZ, LUBETKIN & TULLY, L.L.C.

293 Eisenhower Parkway
Livingston, New Jersey 07039
(973) 597-9100

Jonathan I. Rabinowitz
Attorneys for Plaintiff

In re:
AMERICA’S INSURANCE CENTER, INC.,

Debtor.

JOHN SYWILOK, CHAPTER 7 TRUSTEE,
Plaintiff,

Vv.

MARC B. LEVY, MBL BENEFITS

CONSULTING CORPORATION, and

OLENDER FELDMAN, LLP,

Defendants,

Case No. 16-26161 JKS)
Chapter 7
Judge: John K. Sherwood

Adv. Pro No.:

Desc Main

John Sywilok, Chapter 7 Trustee (the “Trustee” or “Plaintiff’) of the bankruptcy estate of

America's Insurance Center, Inc. (the “Debtor”), by and through his counsel Rabinowitz, Lubetkin

& Tully, LLC, by way of Complaint against Marc B. Levy (“Levy”), MBL Benefits Consulting

Corporation (“MBL Benefits”), and Olender Feldman, LLP (“Olender” and together with Levy

and MBL Benefits, the “Defendants”) shows and alleges as follows:

JURISDICTION AND VENUE

1. This Court has jurisdiction over this proceeding in accordance with 28 U.S.C.

§§ 157 and 1334(b). Venue is properly laid in this district pursuant to 28 U.S.C. § 1409¢a).
Case 18-01449-JKS Doci1 Filed 08/22/18 Entered 08/22/18 11:23:25 Desc Main
Document Page 2 of 2

2. This proceeding is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B),
(H) and (OQ). The applicable statutory basis for the claims asserted herein includes, but is not

limited to, 11 U.S.C. §§ 544, 548 550, and 502.
